                      Case 1:10-cr-10440-DPW Document 586 Filed 02/04/13 Page 1 of 14

AO 245B       (Rev. 09111) Judgment in a Criminal Case
              Sheet I



                                          UNITED STATES DISTRICT COURT
                                                             District of Massachusetts

              UNITED STATES OF AMERICA                                              JUDGMENT IN A CRIMINAL CASE
                                  v.
                        NOEL WILLIAMS                                               Case Number: 10-CR-10440-DPW-19

                                                                                    USM Number: 93632-038


                                                                                    Defendant's Attorney
THE DEFENDANT:
!it'pIeaded guilty to count(s)         1 of the Indictment on 4/26/12

o pleaded nolo contendere to count(s)
   which was accepted by the court.
o was found guilty on count(s)
   after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

                                  Nature of Offense                                                          Offense Ended

                                 "iC~t:ispiri:lcy to Distribute Cocaine and Cocaine Base                       12/2/2010




       The defendant is sentenced as provided in pages 2 through            _ _6      ._~ ofthisjudgment. The sentence is imposed pursuanl [0
the Sentencing Reform Act of 1984.
o The defendant has been found not guilty on count(s)
o Count(s)                                   ----
                                                   o         IS    o are dismissed on the motion of the United States.
         It is ordered that the defendant must notify the United States attorney for this district within 30 days of an: ehange of name. I·esid~nce.
or mailing address until all fines. restitution. costs. and special assessments imposed by this judgment are full" paid. If ordered to pa) 1'l~Slitulion.
the defenaant must notify the court and United States attorney of material changes in ecoTlOmlc circumstances.

                                                                                     13


                                                                           D"~Z71f/Jo;
                                                                             ?     _. _..----.-,­
                                                                           Signature of Judge
                                                                                                                       L­
                                                                             Douglas P. Woodlock
                                                                                          -~-----_.
                                                                                                                            Judge,U.S. District Court
                                                                                                                   - - - - - _ . ---_ .. ---­
                                                                                                                                      "         ­

                                                                           Name and Title lJrJudge


                                                                           !i~~!'1_~_~~J _~ ~__.~_
                                                                            Lhtt'
                      Case 1:10-cr-10440-DPW Document 586 Filed 02/04/13 Page 2 of 14

AO 2458     (Rev. 09111) Judgment in Criminal Case
            Sheet 2 - Imprisonment

                                                                                                     Judgment -   Page   2   of   6
DEFENDANT: NOEL WILLIAMS
CASE NUMBER: 10-CR-10440-DPW-19


                                                           IMPRISONMENT

         The defendant is hereby committed to the custody of the United States Bureau of Prisons to he imprisoned f()r a
total term of:
    72 months.

    Defendant shall receive credit for time served.


      il1' The court makes the following recommendations to the Bureau of Prisons:
 Defendant should be designated to a facility as close as possible to his family/relatives. Defendant should be designated to
 an institution commensurate with security where he can receive appropriate drug treatment, including participation in the
 500-Hour Residential Drug Abuse Program.

      ill' The defendant is remanded to the custody of the United States Marshal.
      o The defendant shall surrender to the United States Marshal for this district:
        o at                                  0 a.m.        o p.m. on
        o as notified by the United States Marshal.
      o The defendant shall surrender for service of sentence at the institution designated hy the Bureau of Prisons:
        o before 2 p.m. on
        o as notified by the United States Marshal.
        o as notified by the Probation or Pretrial Serv ices Office.

                                                                 RETURN
I have executed this judgment as fo 1I0ws:




          Defendant delivered on                                                        to

a                     _                              with a certified copy of this judgment.



                                                                                                  UNITED STA rES MARSHAL



                                                                         By
                                                                                               DEPUTY t'NITED SIA ns M.·\RSHAL
                            Case 1:10-cr-10440-DPW Document 586 Filed 02/04/13 Page 3 of 14
AD 2458       (Rev. 09/1 I) Judgment in a Criminal Case
              Sheet 3 - Supervised Release
                                                                                                             Judgment--Page    3     of        6
DEFENDANT: NOEL WILLIAMS
CASE NUMBER: 10-CR-10440-DPW-19
                                                            SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of:
 4 years.

        The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the
custody of the Bureau of Prisons.
The defendant shall not commit another federal, state or local crime.
The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any un lawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment ana at least two periodic drug tests
thereafter,JG«iek~:il)C~:mwt. not                         to exceed 104 tests per year                   I   as directed.                 ~
o        The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
         future substance abuse. (Check. if applicable.)

         The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. ((,h"d. '(Ul'pl,c"/>{,, I

         The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check ,juPIJ/,cuhle.)

         The defendant shall comply with the requirements of the Sex Offender Registration and Notification Act (42 USc. ~ 1690 I. ('/ s('C/.)
o        as directed by the probatIOn officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she resides.
         works, is a student, or was convicted of a qual ifying offense. (Check, ifapplicable.)

o        The defendant shall participate in an approved program for domestic violence. (Check, if applicable)
        If this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with the
Schedule of Payments sheet of this judgment.
         The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
on the attached page.

                                            STANDARD CONDITIONS OF SUPERVISION
    I)    the defendant shall not leave the judicial district without the permission of the court or probation officer:
  2)      the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
  3)      the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer:
  4)      the defendant shall support his or her dependents and meet other family responsibilities;
  5)      the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
          acceptable reasons;
  6)      the defendant shall notify the probation officer at least ten days prior to any change in residence or employment:
  7)      the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, usc. distribute, or adminiskr any
          controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician:
    8)    the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered:
  9)      the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a
          felony, unless granted permission to do so by the probation officer;
 10)      the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
          contraband observed in plain view of the probation officer;
 11 )     the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer:
 12)      the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agenc) without the
          permission of the court; and

 13)      as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendanl's crim inal
          record or p-ersonal history or characteristics and shall permit the probation officer to make such notifications and to con firm the
          defendant s compliance with such notification requirement.
                 Case 1:10-cr-10440-DPW Document 586 Filed 02/04/13 Page 4 of 14


AO 245B   (Rev. 09/11) Judgment in a Criminal Case
          Sheet 3A - Supervised Release
                                                                    Judgment-Page _~L   or   6
DEFENDANT: NOEL WILLIAMS
CASE NUMBER: 10-CR-10440-DPW-19

                                    ADDITIONAL SUPERVISED RELEASE TERMS
 DEFENDANT IS TO PARTICIPATE IN A PROGRAM FOR SUBSTANCE ABUSE AS DIRECTED BY THE US
 PROBATION OFFICE, WHICH PROGRAM MAY INCLUDE TESTING, NOT TO EXCEED 104 DRUG TESTS PER YEAR,
 TO DETERMINE WHETHER THE DEFENDANT HAS REVERTED TO THE USE OF ALCOHOL OR DRUGS THE
 DEFENDANT SHALL BE REQUIRED TO CONTRIBUTE TO THE COSTS OF SERVICES FOR SUCH TREATMENT
 BASED ON THE ABILITY TO PAY OR AVAILABILITY OF THIRD PARTY PAYMENT.

 IF ORDERED DEPORTED, THE DEFENDANT IS TO LEAVE THE UNITED STATE AND IS NOT TO RETURN WITHOUT
 PRIOR PERMISSION OF THE SECRETARY OF THE DEPARTMENT OF HOMELAND SECURITY.
                   Case 1:10-cr-10440-DPW Document 586 Filed 02/04/13 Page 5 of 14
AO 245B   (Rev 09/11) Judgment in a Criminal Case
          Sheet 5 - Criminal Monetary Penalties
                                                                                                    Judgment -   Page     5      of        6
DEFENDANT: NOEL WILLIAMS
CASE NUMBER: 10-CR-10440-DPW-19
                                               CRIMINAL MONETARY PENALTIES
     The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.


                   Assessment                                                                               Restitution
TOTALS           $ 100.00                                          $                                    $



o The determination of restitution is deferred until                   . An Amended Judgmenl in a Criminal Cast' (./O:!I5C/ Ilill he ellkrt:J
     after such detennination.

o The defendant must make restitution (including community restitution) to the following payees in the amount listed heloll.
     If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment. unless spet:itied othem ise ill
     the priority order or percentage payment column below. However, pursuanl 10 18 l.S.C. ~ 3664(i), all non federal I ictims must he [lJiJ
     before the United States is paId.                                                         .

Name of Payee                                                            Total Loss*         Restitution Ordered        Priority or Percentage
                                           ",,):,.:'0,...




 TOTALS                             $                       0.00                             0.00
                                                                            $- - - - - - - - - -



 o    Restitution amount ordered pursuant to plea agreement $

 o    The defendant must pay interest on restitution and a fine of more than $2,500. unless the restitution or tine is [laid in full hd(]r-: the
      fifteenth day after the date of the judgment, pursuant to 18 U.S.c. ~ 3612(f). All of the payment options on Sheet 6 may he suhied
      to penalties for delinquency and default, pursuant to 18 U.S.c. ~ 3612(g).

 o    The court determined that the defendant does not have the ability to pay interest and it is ordered that:

      o the interest requirement is waived for the 0 fine 0 restitution.
      o the interest requirement for the 0 fine 0 restitution is modified as follo\\s:

 * Findings for the total amount of losses are required under Chapters 109A, 110, II OA, and 113A of Title 18 for offenses committed on or atter
 September 13, 1994, but before April 23, 1996.
                   Case 1:10-cr-10440-DPW Document 586 Filed 02/04/13 Page 6 of 14
AO 2458    (Rev. 09/11) Judgment in a Criminal Case
           Sheet 6 - Schedule of Payments

                                                                                                              Judgment -- Page     6      o!          6
DEFENDANT: NOEL WILLIAMS
CASE NUMBER: 10-CR-10440-DPW-19

                                                          SCHEDULE OF PAYMENTS

Having assessed the defendant's abili ty to pay, payment of the total criminal monetary penalties is due as fo 110\\ s:

A    ri/ Lump sum payment of$ _10_0_,_0_0                       _ due immediately, balance due

                 not later than                                        , or
                 in accordance           D    C,      D    D,      D     E, or    'it F below: or
B    D Payment to begin immediately (may be combined with                        DC,      D D, or     D F helow): or
C    D Payment in equal                              (e.g., weekly. monthly, quarterly) installments 0 f $                     __ ov er a period 01
                           (e.g., months or years), to commence                        (e.g., 30 or 60 days) after the date of this.i udgment: or

D    D Payment in equal                              (e.g., weekly, monthly, quarterly) installments of $                  ..      over a period 01
                           (e.g., months or years), to commence                        (e.g.. 30 or 60 days) atier release from imprisonment 10 a
          term of supervision; or

E    D Payment during the term of supervised release will commence within                  ~. (eg. 3IJ or ()O dUl.I) aftel' relea~c Irom
          imprisonment. The court will set the payment plan based on an assessment of the defendant's ahilit) to pa) at thaI timc: 11"

F    riI Special instructions regarding the payment of criminal monetary penalties:
           DEFENDANT SHALL PAY THE SPECIAL ASSESSMENT OF $100.00, IMMEDIATELY OR ACCORDING TO A
           PAYMENT PLAN ESTABLISHED BY THE COURT IN CONSULTATION WITH THE PROBATION OFFICER, IF
           NOT PAID IN FULL BEFORE RELEASE FROM PRISON THROUGH A BUREAU OF PRISONS FINANCIAL
           RESPONSIBILITY PROGRAM,


Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment ofcriminal monetary penalties is duc Juring
imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons' Inmatc Financial
Responsibility Program, are made to the cl erk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.



D    Joint and Several

     Defendant and Co-Defendant Names and Case Numbers (including defendanr number). Total Amount. .Ioint and SC\ eral /\mount.
     and corresponding payee, if appropriate.




D    The defendant shall pay the cost of prosecution.

D    The defendant shall pay the following court cost(s):

ri/ The defendant shall forfeit the defendant's interest in the following property to the United States:
      See attached Preliminary Order of Forfeiture.



Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest. (4) tine principal.
(5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
                          Case 1:10-cr-10440-DPW Document 586 Filed 02/04/13 Page 7 of 14

AO 245B       (Rev. 09/11) Judgment in a Criminal Case
              Attachment (Page 1) - Statement of Reasons


DEFENDANT: NOEL WILLIAMS
CASE NUMBER: 10-CR-1 0440-DPW-19
DISTRICT:    District of Massachusetts

                                                                STATEMENT OF REASONS

I         COURT FINDINGS ON PRESENTENCE INVESTIGA TION REPORT

          A   ~      The court adopts the presentence investigation report without change.

          B   0      The court adopts the presentence investigation report with the following changes.
                     (Check all that apply and specify coun determination. t1ndings. or comments. referencing paragraph numbers III the presentence report. If "ppllL'able I
                     (Use page 4 if necessary.)

                     o Chapter Two of the (J.8.S.G. Manual determll1ations by coun (includll1g changes to hase offense Ie\el. or
                           specific offense characteristics):




              2      0     Chapter Three of the V.S.S.G. Manual determll1ations by court (includll1g changes to vlctlill-related "dIUSll1lelll\
                           role in the offense, obstruction of justice. multiple counts. or acceptance ofresponslbilitv)'




              3      0     Chapter Four of the U.S.S.G. Manual detemninations by court (includll1g changes to Crllllmal history catcgor\ or
                           scores, career offender, or criminal livelihood determinations):




              4       0    Additional Comments or Findings (mcludmg comlllents or l'scwal fllldmgs cOllcernll1g cenaln 1I1fonnatll1ll III the
                           presentence report that the Federal Bureau of Prisons may rely on when it makes inmate clasSltkatlon. deSignation.
                           or programming decisions):




          c 0         The record establishes no need for a presentence investigation report pursuant to Fed.R.Crim.P. 32.

II        COURT FINDING ON MAN DA TORY MINIMUM SEN TEN CE (Check all thaI applvJ

          A 0         No count of conviction carries a mandatory minimum sentence.


          B   ~       Mandatory minimum sentence imposed.


          c 0         One or more counts of conviction alleged in the indictment carry a mandatory minimum term of ImprISonment. hUI the
                      sentence imposed is below a mandatory minimum term because the court has determined that the mandatory minimum
                      does not apply based on

                      o findings offact in this case
                      o substantial assistance (18 US.c. ~ 3553(e»)
                      o the statutory safety valve (I 8 USc. 3553(f)
                                                                  ~




    III   COURT DETERMINATION OF ADVISORY GUIDELINE RANGE (BEFORE DEPARTURES):

          Total Offense Level: ~3-,-1~---:-C~~~~~~~
          Criminal History Category:   ~."'II,,-I~~~-,--~~
          Imprisonment Range: _1~B~8~__ to 235             months
          Supervised Release Range: ~4_--:::---ec--:: to 5        years
          Fine Range: $ 15,000          to $ 5,000,000_

          ~ Fine waived or below the guideline range because of inability to pay.
                           Case 1:10-cr-10440-DPW Document 586 Filed 02/04/13 Page 8 of 14

AO 245B      (Rev. 09111) Judgment in a Criminal Case
             Attachment (Page 2) - Statement of Reasons


DEFENDANT: NOEL WILLIAMS
CASE NUMBER: 10-CR-10440-DPW-19
DISTRICT:    District of Massachusetts
                                                              STATEMENT OF REASONS

IV   ADVISORY GUIDELINE SENTENCING DETERMINA nON (Check onll' one)

     A       0          The sentence is within an advisory guideline range that is not greater than 24 months, and the court linds no reason to depart

     B       0          The sentence is within an advisory guideline range that is greater than 24 months, and the specific sentence is imposed for these reasons,
                        (Use page 4 ifnecessary.)


     c       0          The court departs from the advisory guideline range for reasons authorued by the sentencing guidelines manual.
                        (Also complete Section v.)

     D       ill'       The court imposed a sentence outside the advisory sentencing guideline system, (Also coli/pie Ie SeCl/on 1'1)


V    DEPARTURES AUTHORIZED BY THE ADVISORY SENTENCING GUIDELINES (If applicable.)

     A       The sentence im posed departs (Check only one.):
             D       below the advisory guideline range
             o above the advisory guideline range
     B       Departure based on (Check all that apply.):
                              Plea Agreement (Check all that apply and check reason(s) below,):
                              o    5K 1.1 plea agreement based on the defendant's substantial assistance
                              o 5K3,1 plea agreement based on Early Disposition or "Fast-track" Program
                              o      binding plea agreement for departure accepted by the court
                              o      plea agreement for departure, which the court finds to be reasonable
                              o      plea agreement that states that the government will not oppose a defense departure Illolion.

             2                Motion Not Addressed in a Plea Agreement (Check all/hat apply and check reason/I) heleN):
                              o   5Kl.l government motion based on the defendant's substantial assistance
                              o 5K3,1 government motion based on Early Disposition or "Fast-track" program
                              D      government motion for departure
                              o      defense motion for departure to which the government did not object
                              o      defense motion for departure to which the government objected

             3                Other
                              o      Other than a plea agreement or motion by the parties for departure (Check reason!.,) heloll'):

      C          Reason(s) for Departure (Check all that apply olher lhan 5KI.1 or 5K31.)
                                                                    5K2.1    Death                                    0     5K211       Lesser Harm
0    4AU            Criminal History Inadequacy               D
                                                                    5K2.2    Physical InjUry                          0     5K212       CoercIon and Duress
0    5H1.I          Age                                       0
                    Education and Vocational Skills                 5K2.3    Extreme Psychologlcallnlur)'             0     5K213       DlmllllShed CapaCIl)
D    5HU                                                      0
                                                                    5K2A     Abduction or Unlawful Restraint          0     5K21·1      Puhllc \'. ellare
0    5HU            Mental and Emotional Condition            0
     5H1A           Physical Condition                        []    5K2.5    Propert\ Damage or Loss                  0     5K2 t6      y'olulllar\ DIS(!osurL' nl"( )!J(11:'II.'
0
                                                                    5K26     Weapon or Dangerous Weapon               0     5K2 17      Hlgh-C'l.lPi.lCl{\    'i(,llll<llltnr~l,-l1IL \VC,I[lOll
D    5H1.5          Employment Record                         0
                    Family Ties and Responsibilities                5K2.7    Disruption of Government Function        0     5K2 18      \/Iolcnt Street (Jalll:.
0    5Hl.6                                                    0
                                                                    5K2.8    Extreme Conduct                          0     5K2 CU      Aberrant lkha\ lor
0    5H1.I I        Military Record, Charitable Service,      D
                    Good Works                                      5K2.9 Criminal Purpose                            0     5K2.21      Dismissed and Uncharged Conduct
                                                              0
                                                                    5K210 Victim's Conduct                            0     5K2.22      Age or Health 01' Sex Ofknuers
D    5K2.0          Aggravating or Mitigating Circumstances   0
                                                                                                                      0     5K2.23      Discharged Tcnm of Iml, nsonlllcl1l
                                                                                                                            Other guidellllL' hJ.'lI"- (' g     :'111 I l'Ollllllcn/Jr\)
                                                                                                                      0
      D          Explain the facts justifying the departure. (Use page ./ ilnecessarv)
AO 245B
                          Case 1:10-cr-10440-DPW Document 586 Filed 02/04/13 Page 9 of 14
           (Rev. 09/11) Judgment in a Criminal Case
           Attachment (Page 3) - Statement of Reasons


DEFENDANT: NOEL WILLIAMS
CASE NUMBER: 10-CR-10440-DPW-19
DISTRICT:    District of Massachusetts
                                                           STATEMENT OF REASONS

VI   COURT DETERMINATION FOR SENTENCE OUTSIDE THE ADVISORY GUIDELINE SYSTEM
     (Check all that apply.)

     A     The sentence imposed is (Check only one.):
           rtt
             below the advisory guideline range
           o above the advisory guideline range
     B     Sentence imposed pursuant to (Check all that apply.;:
                        Plea Agreement (Check all that apply and check reason(s) below.}:
                        o      binding plea agreement for a sentence outsidc the advisory guidel ine system accepted hy the court
                        o      plea agreement for a sentence outside the advisory guideline system, which the court finds to be reasonahle
                        o      plea agreement that states that the government will not oppose a defense motion to the court to sentence outside the ad, ,,,,,) gUiddillc
                               system

           2            Motion Not Addressed in a Plea Agreement (Check all that app~v and check reason(s) below):
                        ilf government motion for a sentence outside of the advisory guideline system
                        o defense motion for a sentence outside of the advisory guideline system to which the government did not ohlcct
                        o defense motion for a sentence outside of the advisory guideline system to which the government ohJected
           3            Other
                        ilf Other than a plea agreement or motion hy the parties for a sentence outside of the advisory guideline system        (Check reasuI11s1 helOll' I


     C     Reason(s) for Sentence Outside the Advisory Guideline System (Check al! that apply.;

           rtt   the nature and circumstances of the offense and the history and characteristics of the defendant pursuant to 18 L: S C § 355.1( a)( I)
           riJ to reflect the seriousness of the offense, to promote respect for the law, and to provide just punishment for the otfense (18 L SC § 35:i3(a)(~I(.·\)1
           riJ to afford adequate deterrence to criminal conduct (18 U.S.c. § 3553(a)(2)(B»
           o to protect the public from further crimes of the defendant (18 USc. § 3553(a)(2)(C»
           o to provide the defendant with needed educational or vocational training, medical care, or other correctional treatment the most effective manner
                                                                                                                                          III

                 (18 U.S.c. § 3553(a)(2)(D»
           'iii to avoid unwarranted sentencing disparities among defendants (18 USc. § 3553(a)(6))
           o to provide restitution to any victims of the offense (18 U.S.c. § 3553(a)(7))
     D      Explain the facts justifying a sentence outside the advisory guideline system. (Use page -lifnecessarv.)
               Given the defendant's age, the career offender category's overstatement of his criminal history and the likelihood
               of the defendant's deportation, the sentence is sufficient but no greater than necessary to serve the purposes of
               § 3553.
                 Case 1:10-cr-10440-DPW Document 586 Filed 02/04/13 Page 10 of 14

A0245B    (Rev. 09/11) Judgment in a Criminal Case
          Attachment (Page 4) - Statement of Reasons


DEFENDANT: NOEL WILLIAMS
CASE NUMBER: 10-CR-10440-DPW-19
DISTRICT:    District of Massachusetts
                                                         STATEMENT OF REASONS

VII   COURT DETERMINATIONS OF RESTITUTION

      A   ~     Restitution Not Applicable.

      B   Total Amount of Restitution:

      C   Restitution not ordered (Check only one):

                o For offenses for which restitution is otherwise mandatory under 18 USc. ~ 3663A. restitution is not ordered because the number 01'
                      identifiable victims is so large as to make restitution impractIcable under \ 8 US C. ~ 3663A(c)(3}(A)

          2     0     For offenses for which restitution is otherwise mandatory under 18 U S,c. ~ 3663A. restitution is not ordered because lklCrmJl1JJ1~ ,'omr!c'
                      issues of fact and relating them to the cause or amount of the victims' losses would complicate or prolong the sentencmg proceS) [0 a lkgrec
                      that the need to provide restitutIon to any victim would be outweighed by the burden on the semencmg process under 18 L S L "J()(, ;'\[l Ii ; II k I

                o For other offenses for which restitution is authorized under 18 USC 3663 andlor required by the sentencing gUidelines restitution" ntll
                                                                                             ~
                      ordered because the complication and prolongation of the sentencing process resultmg from the fashlonmg ofa restitution oruer oUI\\elgh
                      the need to provide restitution to any victims under 18 USc. 9 3663(a)(1 )(B)(ii)

           4    0     Restitution is not ordered for other reasons. (Explain.)




      D    0    Partial restitution is ordered for these reasons (18 US.C § 3553(c)):




VIII ADDITIONAL FACTS JUSTIFYING THE SENTENCE IN THIS CASE (If applicable.)




                    Sections I, II, III, IV, and VII of the Statemem of Reasons form must be completed in all felony cases.




Defendant's Soc. Sec. No.:

Defendant's Date of Birth:
                                XXX-XX-B026

                                   1956                                                             ~P-13
                                                                                                   I!hl'~-,.I/J;IJ~f
                                                                                                                    t
                                                                                                    Date of Imposition of Judgment




                                                                                                    Signature of Judge
Defendant's Residence Address:
 Dorchester, MA                                                                                     Douglas P. Woodlock                       USDJ
Defendant's Mailing Address:                                                                         Name ~nd TitleL'!)~df,e V 'A,Ja,1
  Unknown.                                                                                           Date Signed O~_tllAe"'!1-_11_~'~
     Case 1:10-cr-10440-DPW Document 586 Filed 02/04/13 Page 11 of 14




                              UNITED STATES DISTRICT COURT
                               DISTRICT OF MASSACHUSETIS

UNITED STATES OF AMERICA                       )
                                               )
                  v.                           )       Criminal No.1 0-1 0440-DPW
                                               )
19. NOEL WILLIAMS,                             )
                Defendant.                     )


                         PRELIMINARY ORDER OF FORFEITURE
 WOODLOCK, D.J.

       WHEREAS, on December 23, 2010 a federal grand jury sitting in the District of

Massachusetts returned a sixteen-count Indictment charging defendant Noel Williams (the

"Defendant"), and others, with Conspiracy to Distribute More than 500 Grams of Cocaine and

More than 280 Grams of Cocaine Base, in violation of21 lJ.S.c. § 846 (Count One) I;

       WHEREAS, the Indictment contained a forfeiture allegation, pursuant 21 U.S.c.

§ 853, which provided notice that the United States sought the forfeiture. upon conv iction of the

Defendant of the offense alleged in Count One of the Indictment, jointly and severally. of any and

all property constituting, or derived from, any proceeds the Defendant obatianed, directly or

indirectly, as a result ofthe offense; and/or any property used or intended to be used, in any manner

or part, to commit, or to facilitate the commission of, such violation.

       WHEREAS, on May 5, 2011 the United States filed a Bill of Particulars giving notice that

it sought the forfeiture of additional specific assets pursuant to 21 U.S.c. § 853;

       WHEREAS, on June 6,2011, the United States filed a Second Bill of Particulars,

providing notice of specific property that the government intended to forfeit pursuant to 21 U.s.c.



1 The Defendant was not charged in counts two through sixteen of the Indictment.
                                                   1
      Case 1:10-cr-10440-DPW Document 586 Filed 02/04/13 Page 12 of 14




§ 853 as a result of violations of21 U.S.c. § 846;

       WHEREAS, the Second Bill of Particulars identified for forfeiture any and all property

constituting or derived from, any proceeds the defendants obtained, directly or indirectly, as a

result of such offenses; and/or any property used or intended to be used, in any manner or part. to

commit, or to facilitate the commission of, such violation, including but not limited to, the

following:

               $8,842.00 in United States currency, seized from Noel Williams on
               December 2.2010 (the "Currency");

       WHEREAS, the Indictment further provided that, if any of the above-described

forfeitable property, as a result of any act or omission by the Defendant, (a) cannot be located upon

the exercise of due diligence; (b) has been transferred or sold to, or deposited with, a third party:

(c) has been placed beyond the jurisdiction of the Court; (d) has been substantially diminished in

value; or (e) has been commingled with other property which cannot be divided without difficulty.

the United States is entitled to seek forfeiture of any other property of the Defendant. up to the

value of such assets, pursuant 21 U.S.c. 853(p);

       WHEREAS, on April 26, 2012, at a hearing pursuant to Rule II of the Federal Rules of

Criminal Procedure, the Defendant pled guilty to Coum One of the Indictment. The Defendant

also signed a written plea agreement in which he consented to the forfeiture of the Currency. and

admitted thet the Currency was subject to forfeiture;

       WHEREAS, in light of the Defendant's guilty plea and admissions in the plea agreement.

the United States has established the requisite nexus between the Currency and the offense to

which the Defendant pled guilty. Accordingly, the Currency is subject to forfeiture to the United

States pursuant 21 U.S.c. § 853;
                                                   2
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       WHEREAS, pursuant to 21 U.S.c. § 853 and Rule 32.2(b)(2) of the Federal Rules of

Criminal Procedure, the United States is now entitled to a Preliminary Order of Forfeiture against

the Currency.

       ACCORDINGLY, it is hereby ORDERED, ADJUDGED, AND DECREED that:

        1.      The Court finds, pursuant to Rule 32.2(b)( I) of the Federal Rules of Criminal

Procedure, that the government has established the requisite nexus between the Currency and the

offense to which the Defendant pled guilty.

       2.       Accordingly, all of the Defendant's interests in the Currency are hereby forfeited to

the United States of America for disposition pursuant to 21 U.S.c. § 853.

       3.       Pursuant to Rule 32.2(b)(3) of the Federal Rules ofCriminal Procedure. the lJnited

States is hereby authorized to seize the Currency and maintain it in its secure custody and control.

       4.       Pursuant to 21 U.S.c. § 853(n)( 1), as incorporated 2 I U.S.C. § 853. the United

States shall publish, for thirty (30) consecutive calendar days on the government forfeiture website

www.forfeiture.gov, notice of the Preliminary Order of Forfeiture and notice of the United States'

intent to dispose of the Currency.

       5.       Pursuant to 21 U.S.c. § 853(n)(1), as incorporated by 21 U.S.c. § 853, the United

States shall give, to the extent practicable, direct written notice to any person known to have

alleged an interest in the Currency to be forfeited.

       6.       Pursuant to 21 U.S.c. § 853(n)(2) and (3), as incorporated by 21 U.S.c. § 853. the

notice referred to above shall state: (a) that any person, other than the Defendant. asserting a legal

interest in the Currency, shall, within sixty (60) days after the first day of publication on the

government forfeiture website or within thirty (30) days after receipt of actual notice, whichever is


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earlier, file a petition with the United States District Court in Boston, Massachusetts, requesting a

hearing to adjudicate the validity of his or her interest in the Currency; and (b) that the petition

shall be signed by the petitioner under the penalty of perjury and shall set forth the nature and

extent of the petitioner's right, title, or interest in the Currency, the time and circumstances of the

petitioner's acquisition of the right, title, or interest in the Currency, any additional facts

supporting the petitioner's claim, and the relief sought.

        7.      Pursuant to 21 U.s.c. § 853(n)(7), as incorporated by 21 U.S.c. § 853, following

the Court's disposition of all petitions fi led under 21 U.S.c. § 85 3(n)( 6), or if no such petitions are

filed following the expiration of the period provided in 21 U.S.c. § 853(n)(2) for the fi ling of such

petitions, the United States of America shall have clear title to the Currency.

        8.      Upon adjudication of all third party interests, this Court will enter a Final Order oj'

Forfeiture, pursuant to 21 U.s.c. § 853 and Rule 32.2(c) of the Federal Rules of Criminal

Procedure, in which all interests will be addressed.

       9.       Pursuant to Rule 32.2(b)(4) of the Federal Rules of Criminal Procedure, this

Preliminary Order of Forfeiture will become final as to the Defendant at the time of his sentencing,

will be part ofthe Defendant's criminal sentence, and will be included in the criminal judgment

entered by this Court against.




                                                         DOUGLASP.WOODLOCK
                                                         United States District Judge




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